                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )        NO. 3:12-00044
                                            )        JUDGE CAMPBELL
LACY BRIAN WHITFIELD                        )

                                            ORDER


         Pending before the Court is the Government’s Request for a New Trial Date (Docket No.

78). The Motion is DENIED.

         IT IS SO ORDERED.



                                                     __________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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